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                     EXHIBIT E




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Wire: PR Newswire (PRN) Date: Feb 28 2020 17:00:04
Shareholder Alert: Bernstein Litowitz Berger & Grossmann LLP Announces the Filing of
a Securities Class Action Lawsuit Against

  Shareholder Alert: Bernstein Litowitz Berger & Grossmann LLP Announces the
    Filing of a Securities Class Action Lawsuit Against Fluor Corporation

PR Newswire

NEW YORK, Feb. 28, 2020

NEW YORK, Feb. 28, 2020 /PRNewswire/ -- Today, prominent investor rights law
firm Bernstein Litowitz Berger & Grossmann LLP ("BLB&G") filed a class action
lawsuit for violations of the federal securities laws in the U.S. District
Court for the Northern District of Texas against Fluor Corporation ("Fluor")
and certain of Fluor's current and former senior executives (collectively,
"Defendants") on behalf of investors in Fluor common stock between November 2,
2017 and February 14, 2020, inclusive (the "Class Period").

BLB&G filed this action on behalf of its client, Union Asset Management
Holding AG, and the case is captioned Union Asset Management Holding AG v.
Fluor Corporation, No. 3:20-cv-00518 (N.D. Tex.). The complaint is based on an
extensive proprietary investigation and a careful evaluation of the merits of
this case. A copy of the complaint is available on BLB&G's website by clicking
here.

Fluor's Alleged Fraud

Based in Irving, Texas, Fluor operates, through its subsidiaries, as a global
engineering, procurement, construction, and maintenance company that designs,
builds and maintains energy and gas facilities for both public and private
clients. The claims alleged in this case arise from Defendants'
misrepresentations and omissions regarding Fluor's revenue recognition
practices.

The complaint alleges that, throughout the Class Period, Defendants inflated
Fluor's revenue and earnings by improperly recognizing revenue on 16 separate
projects ("2Q 2019 Projects"). Once awarded a contract to perform work on a
construction project, the Company would routinely submit "change orders" to
its clients to request additional funds, which the client was not
contractually obligated to pay, to cover "unforeseen
circumstances." Defendants repeatedly made false and misleading statements to
investors regarding Fluor's revenue recognition practices with respect to its
submission of these change orders. As a result of Defendants'
misrepresentations, shares of Fluor's common stock traded at artificially
inflated prices during the Class Period.

The truth emerged through a series of disclosures beginning on May 2, 2019,
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                                   fluor_bernstein
when Fluor announced the immediate departure of its CEO, David T.
Seaton, significantly reduced its earnings guidance, and disclosed that Fluor
was taking charges of over $100 million on various projects due, in part, to
Fluor's "revenue recognition" practices.

Then, on August 1, 2019, Defendants revealed that Fluor would be taking a $714
million charge on the 2Q 2019 Projects, including incurring a $233 million
charge on Fluor's project at the Radford Army Ammunition Plant (the "Radford
Project").

Finally, on February 18, 2020, Defendants revealed that the U.S. Securities
and Exchange Commission was investigating Fluor's revenue recognition
practices related to the 2Q 2019 Projects and had requested information
related to those projects. In addition, Defendants announced that Fluor had
also commenced an internal investigation into the 2Q 2019 Projects, "focusing
initially on the Radford [Project]." As a result of these disclosures, the
price of Fluor common stock declined precipitously.

If you wish to serve as Lead Plaintiff for the Class, you must file a motion
with the Court no later than April 28, 2020, which is the first business day
on which the U.S. District Court for the Northern District of Texas is open
that is 60 days after the publication date of February 28, 2020. Any member of
the proposed Class may seek to serve as Lead Plaintiff through counsel of
their choice, or may choose to do nothing and remain a member of the proposed
Class.

If you wish to discuss this action or have any questions concerning this
notice or your rights or interests, please contact Avi Josefson of BLB&G at
(212) 554-1493, or via e-mail at avi@blbglaw.com.

About BLB&G

BLB&G is widely recognized worldwide as a leading law firm advising
institutional investors on issues related to corporate governance, shareholder
rights, and securities litigation. Since its founding in 1983, BLB&G has built
an international reputation for excellence and integrity and pioneered the use
of the litigation process to achieve precedent-setting governance
reforms. Unique among its peers, BLB&G has obtained several of the largest and
most significant securities recoveries in history, recovering over $33 billion
on behalf of defrauded investors. More information about the firm can be found
online at www.blbglaw.com.

Contact

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inst-fluor-corporation-301013545.html

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